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                              Attorneys for Plaintiff, THOMAS LEE
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                          9
                                                       UNITED STATES DISTRICT COURT
                    10
                    11                                CENTRAL DISTRICT OF CALIFORNIA
                    12         THOMAS LEE, an individual,                      CASE NO.:
                    13
                                     Plaintiff,
                    14                                                         COMPLAINT FOR DAMAGES
                               vs.                                             UNDER THE FEDERAL TORT
                    15                                                         CLAIMS ACT
                    16         UNITED STATES DEPARTMENT OF
                    17         VETERANS AFFAIRS; AREZOU T.
                               YAGHOUGIAN, M.D.,
                    18
                                                          Defendants.          JURY TRIAL DEMANDED
                    19
                    20
                    21
                    22
                                            COMPLAINT FOR NEGLIGENCE RESULTING IN PERSONAL
                    23
                                                        INJURIES AND MONETARY DAMAGES
                    24
                                     COMES NOW the Plaintiff, Thomas Lee, by and through his attorneys, Adam D.
                    25
                              Kim and Matt Meyer of MKP Law Group, and for his causes of action against Defendant
                    26
                    27 herein, state and allege the following:
                    28                            JURISDICTION, VENUE, AND JURY TRIAL REQUEST
                                     1.     This Court has Subject Matter Jurisdiction over this action pursuant to 28
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                          1         USC §1346(b)(1).
                          2         2.     Venue is proper in this District pursuant to 28 USC §1391(b)(2) and 28
                          3 USC §1391(e).
                          4                                          THE PARTIES
                          5          1.    Plaintiff, Thomas Lee (“Plaintiff”), is an individual residing in the County of
                          6   Los Angeles, State of California.
                          7          2.    Defendant, United States Department of Veterans Affairs West Los Angeles
                          8   Medical Center (the “VA”) is located in Los Angeles County and is organized and existing
                          9   under the laws of the United States of America and the United States Constitution.
                    10               3.    Plaintiff is informed and believes, and thereupon alleges, that at all times
                    11        herein mentioned, Defendant, Arezou T. Yaghougian, M.D., was employed by the VA and
                    12        committed acts and omission alleged herein while acting within the scope of her
                    13        employment.
                    14                                           FACTUAL RECITALS
                    15               4.    Plaintiff re-alleges and incorporates by reference all preceding paragraphs of
                    16        this Complaint as though fully set forth herein.
                    17               5.    Plaintiff is a 35-year old Army veteran. On July 31, 2019, Plaintiff underwent
                    18        an open reduction internal fixation of a left middle finger P1 fracture that was performed at
                    19        the West Los Angeles VA Medical Center by Dr. Arezou T. Yaghoubian, M.D.
                    20               6.    According to the Operation Report, during the internal fixation procedure,
                    21        Defendant Yaghoubian, or an agent/employee of the VA working under the direction of
                    22        Defendant Yaghoubian, broke the head of a 1.5 mm diameter screw which became lodged
                    23        in Plaintiff’s left middle finger. Any attempt to remove the broken screw head was
                    24        unsuccessful and it remained in Plaintiff's finger.
                    25               7.    Defendant Yaghoubian and VA staff never told Plaintiff about the broken
                    26        screw immediately after surgery and at Plaintiff's follow up visits in the subsequent
                    27        months.
                    28               8.    During this time, Plaintiff continued to endure issues with his finger which
                              deprived him of full use of his left hand due to the broken screw penetrating a joint.
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                          1   Plaintiff’s ailments included continued pain, loss of range of motion, an inability to make a
                          2   fist, and an inability to grip and lift any objects of substantial weight.
                          3          9.    Despite Plaintiff voicing these complaints to VA staff and requesting to speak
                          4   with the Defendant Yaghoubian during these follow up visits, Plaintiff was never told
                          5   about the broken lodged screw head in his finger and his requests to meet with Defendant
                          6   Yaghoubian were denied.
                          7          10.   It was not until Plaintiff visited his occupational therapist several months after
                          8   the surgery that Plaintiff finally discovered that a broken screw remained in his finger.
                          9          11.   After occupational therapy did not relieve Plaintiff’s pain and stiffness, on
                    10        July 27, 2020, Plaintiff underwent surgery to remove the broken hardware and extensor
                    11        tenolysis. It was not until this subsequent surgery that Plaintiff’s condition began to
                    12        improve.
                    13               12.   In July 2020, Plaintiff submitted a Claim for Damage, Injury, or Death (Form
                    14        95) seeking damages in the amount of $325,000.00. The Office of General Counsel denied
                    15        Plaintiff’s claim by letter dated February 4, 2021.
                    16                                        FIRST CAUSE OF ACTION
                    17                                             Medical Negligence
                    18               13.   Plaintiff re-alleges and incorporates by reference all preceding paragraphs of
                    19        this Complaint as though fully set forth herein.
                    20               14.   On July 31, 2019, Plaintiff underwent an open reduction internal fixation of a
                    21        left middle finger P1 fracture that was performed at the West Los Angeles VA Medical
                    22        Center by Dr. Arezou T. Yaghoubian, M.D.
                    23               15.   Plaintiff is informed and believes, and thereupon alleges, that at all times
                    24        herein mentioned, Defendant, Arezou T. Yaghougian, M.D., was employed by the VA and
                    25        was acting within the scope of her employment.
                    26               16.   As Plaintiff’s health care provider, Defendants had a duty to use such skill,
                    27        prudence, and diligence as other members of the profession commonly possess and
                    28        exercise while treating Plaintiff – before, during and after surgery.

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                          1          17.   Defendants breached their duty through acts and omissions which include,
                          2   inter alia, the following:
                          3             a. During the internal fixation procedure, Defendant Yaghoubian broke the head
                          4                of a 1.5 mm diameter screw which became lodged in Plaintiff’s left middle
                          5                finger;
                          6             b. Defendant Yaghoubian failed to remove the broken screw head and it
                          7                remained in Plaintiff's finger; and
                          8             c. Defendant Yaghoubian and VA staff withheld the fact that Plaintiff had a
                          9                broken screw head lodged in his finger immediately after surgery and at
                    10                     Plaintiff's follow up visits in the subsequent months; and
                    11                  d. Defendant Yaghoubian failed to meet with Plaintiff at his subsequent visits
                    12                     despite Plaintiff’s request to speak with her and despite Plaintiff’s complaints
                    13                     that his finger was not healing properly. It was not until after Plaintiff made a
                    14                     complaint with the White House VA hotline that Defendant Yaghoubian
                    15                     reached out to speak with Plaintiff.
                    16               18.   As a proximate result, Plaintiff endured issues with his finger which deprived
                    17        him of full use of his left hand due to the broken screw penetrating a joint. Plaintiff’s
                    18        ailments included continued pain, loss of range of motion, an inability to make a fist, and
                    19        an inability to grip and lift any objects of substantial weight.
                    20               19.   During these months, as Defendants left Plaintiff in the dark about the
                    21        possible causes of this pain and discomfort, Plaintiff was left wondering why his hand was
                    22        not properly healing.
                    23               20.   As a proximate result of Defendants’ breaches, Plaintiff underwent surgery to
                    24        remove the broken hardware and extensor tenolysis on July 27, 2020, and has incurred
                    25        medical and other expenses, and is informed and believes and thereon alleges, that Plaintiff
                    26        will continue to incur additional expenses in the future, all to Plaintiff’s damage in an
                    27        amount according to proof at trial. The amount of Plaintiff’s past and future medical and
                    28        other expenses will be subject to further proof at the time of trial, at which time, Plaintiff

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                          1   will seek leave to amend the prayer of this Complaint to conform to proof.
                          2          21.    As a further proximate result of Defendants’ negligence, Plaintiff suffered
                          3   from, inter alia, pain, suffering, inconvenience, discomfort, and emotional distress, as
                          4   Plaintiff was deprived of full use of his left hand due to the broken screw penetrating a joint
                          5   which led to loss of range of motion, an inability to make a fist, and an inability to grip and
                          6   lift any objects of substantial weight - all to Plaintiff’s general damages in an amount
                          7   according to proof at trial.
                          8                                       PRAYER FOR RELIEF
                          9          WHEREFORE, Plaintiff prays for judgment against Defendants, and each of them,
                    10        as follows:
                    11                1. For general damages in a sum to be proven at the time of trial;
                    12                2. For special damages in a sum to be proven at the time of trial;
                    13                3. Attorney’s fees pursuant to 28 USC §2412(b);
                    14                4. For costs of suit; and
                    15                5. For such other and further relief as the Court may deem just and proper.
                    16
                    17        DATED: April 2, 2021                             MKP LAW GROUP
                    18
                                                                                /s/ Matt Meyer
                    19                                                         Adam D. Kim, Esq.
                                                                               Matt Meyer, Esq.
                    20
                                                                               Attorneys for Plaintiff, THOMAS LEE
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